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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                   )
                                           )      Criminal No. 16-55
                v.                         )
                                           )      (18 U.S.C. 371)
  SIMON T. TUSHA                           )



     GOVERNMENT’S NOTICE TO THE COURT RE: DEFENDANT STATUS

       AND NOW comes the United States by its counsel Scott W. Brady, United States

Attorney for the Western District of Pennsylvania and James R. Wilson, Assistant

United States Attorney in and for said district and files the following Notice to the

Court and in support of the same sets forth the following:

       1.       Defendant was sentenced pursuant to his guilty plea to charges that he

conspired to defraud the United States on January 10, 2019. At that time he was

sentenced to a period of 21 months incarceration, a term of 3 years supervised release, a

fine of $962,100 and a $100 Special Assessment;

       2.       Defendant self reported to FCI Loretto to begin serving his sentence on

May 13, 2019;

       3.       On December 11, 2019, Defendant filed a Motion to Modify Sentence or In

the Alternative for an Order Requiring the Bureau of Prisons (BOP) to Provide

Immediate Treatment of Petitioner’s Life Threatening Health Conditions (Doc. No. 78);

       4.       Defendant’s Petition at Doc. 78 consists principally of a chronology and
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may fairly be divided into two general categories of information; first, he advises the

Court regarding a number of steps taken/requests made directly through channels of

the Bureau of Prisons for Compassionate Release and/or forms of relief that are left to

the sound discretion of the BOP. Those matters are unresolved. Second he petitions

this Court for matters within the Court’s discretion regarding the scheduling of medical

appointments with physicians that Defendant insists he must see, or for release to

Home Confinement to expedite medical care.

      5.       As to the second part of Defendant’s Petition at Doc. No. 78, generally

seeking the Court’s intervention to assure certain specific medical the following should

be noted for the Court’s consideration:

               a. Government counsel and defense counsel have been in regular contact

                  since the filing of Doc. 78;

               b. Government counsel has interacted with personnel at FCI Loretto that

                  are responsible for Defendant’s medical treatment to seek to address

                  the validity of defendant’s various claims and to assure that Defendant

                  promptly receives all necessary medical attention;

               c. Defendant’s principal concern related to potentially cancerous lesions

                  on his skin in a variety of locations;

               d. Defendant was seen at the Hillman Cancer Center on January 23, 2020,

                  at which time he underwent a thorough examination relative to a
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                   variety of assertions concerning cancerous or potentially cancerous

                   areas that were deemed to require prompt attention;

                e. Government Counsel received emailed copies of reports concerning

                   the treatment Defendant received at Hillman on January 23 as well as

                   documents prescribing surgical treatment for the worrisome lesions;

                f. That surgery is now scheduled for February 5, 2020;

       6.       This pleading constitutes the report which the government promised to

the Court at the time of a telephone status conference on January 23, 2020, and the

government respectfully avers that said report suffices as an appropriate resolution of

the matters raised by the filling of the defendant’s Petition at Doc. 78.

                                                  Respectfully Submitted,

                                                  SCOTT W. BRADY
                                                  United States Attorney



                                                  s/James R. Wilson___
                                                  JAMES R. WILSON
                                                  Assistant United States Attorney
                                                  PA ID No. 27648
